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NOT FOR PUBLICATION

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

MIDDLESEX WATER COMPANY,
Case No. 18cv15366 (EP) (ESK)

Plaintiff, OPINION

Vv.

3M COMPANY (f/k/a/ Minnesota Mining
and Manufacturing, Co.); JOHN DOE
DEFENDANTS 1-49,

Defendants.

 

 

PADIN, District Judge.

Defendant 3M Company moves for summary judgment on all claims in Plaintiff Middlesex
Water Company’s Second Amended Complaint (“SAC”), D.E. 140, pursuant to Fed. R. Civ. P.
56. The Court decides this matter on the papers pursuant to Fed. R. Civ. P. 78 and L.Civ.R.78.1(b).
For the reasons stated below, the motion will be DENIED.

L BACKGROUND

Plaintiff Middlesex Water Company is a New Jersey-based corporation, which owns and
operates regulated water utility and wastewater systems in New Jersey, Delaware, and
Pennsylvania, including a public water system in Middlesex, New Jersey that serves over 60,000
customers. D.E. 108 “SAC” §§ 8-10. Defendant 3M Company is a Delaware corporation
headquartered in St. Paul, Minnesota, which does business throughout the United States and
manufactures more than 60,000 products in a myriad of different categories (e.g., Post-it notes,

Scotch Tape, Dobie scouring pads, Ace bandages, and Thinsulate insulation). Jd. Jj 11-14.
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This is a case about water contamination. Plaintiff alleges that Defendant sold products
containing perfluorooctanoic acid (“PFOA”) and perfluorooctanesulfonic acid (“PFOS”) to more
than a dozen key customers in New Jersey. /d. J] 19-32. Plaintiff further alleges that Defendant’s
manufacture and sale of products containing PFOA and PFOS led to the discharge of these
chemicals into the environment, which contaminated Plaintiff's public drinking water supply. Jd.
99 1, 44.

PFOA and PFOS are part of a group of manmade chemicals that are collectively referred
to as per-and polyfluoroalkyl substances (“PFAS”). PFAS are manmade chemicals that have been
manufactured and used in the United States since at least the 1940s. D.E. 141-30 “MWC PFOA
Info Session” at 3. PFAS are very persistent in the environment and in the blood of animals and
humans in the United States as they are extremely resistant to degradation, are able to migrate
(e.g., from soil to groundwater), are not easily removed from the environment, and typical water
treatment plants are unable to filter or treat PFAS. SAC 9§ 38-40, 43. They are sometimes referred
to as “forever chemicals.” Health effects of concern for PFAS, including PFOA and PFOS, include
impacts on the liver, decreased immune system responses to vaccines, delays in growth and
development of fetuses and infants, and an increased risk of cancer. D.E. 157-2 at 2.

Defendant began producing PFOA and PFOS in the 1940s and, later, phasing them out in
the early 2000s. SAC 9 77-78. Plaintiff alleges that as early as the 1950s, Defendant learned that
PFAS are toxic— both through Defendant’s own internal animal studies and an independent
Stanford University study. Jd J 56-57. At that time, Defendant also learned that its PFAS
bioaccumulate in the human body. Jd. § 58. By the 1960s and 70s, Defendant allegedly understood
that PFAS persist in the environment and do not degrade. Id. 99 59, 61, 64. Furthermore, Plaintiff

claims that Defendant actively sought to suppress scientific research on the hazards of PFAS, going
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so far as to mount a campaign to control the scientific dialogue on the exposure and effects on
human health, and ecological risks associated with PFAS. Jd. J§ 68-74.

In May 2016, the Environmental Protection Agency (“EPA”) announced Drinking Water
Health Advisories for PFOA and PFOS of 14 ppt.!2, See MWC PFOA Info Session at 6, 11; see
also D.E. 207. In June 2020, New Jersey’s Department of Public Environmental Protection
(“NJDEP”) adopted enforceable? Maximum Contaminant Level (“MCL”) standards for PFOA and
PFOS of 14 ppt and 13 ppt, respectively, for public drinking water. MWC PFOA Info Session at
8; D.E. 152-25 at 1; SAC 9§ 82-83.

Monitoring of Plaintiff's public drinking water wells at its Park Avenue Treatment Plant
(“Park Avenue Wells”), located in South Plainfield, New Jersey, revealed levels in excess of
EPA’s advisories and NJDEP’s guidelines. MWC PFAS Treatment Report at 0-1; MWC PFOA
Info Session at 11. For example, Plaintiff learned in early September 2020 that water in its Park
Avenue Wells contained the following amounts of PFOA in the first three quarters of 2020: 25
ppt; 23 ppt; and 36 ppt. MWC PFOA Info Session at 11. Plaintiff alleges that Defendant has
known of the toxicity and persistence of PFOA and PFOS for decades, but has knowingly and
intentionally manufactured and distributed PFAS-containing products to the detriment of Plaintiff
and New Jersey citizens.

Plaintiff brings claims against Defendant for negligence (Count One), negligent failure to
warn (Count Two), strict liability failure to warn (Count Three), private nuisance (Count Four),

and past and continuing trespass (Count Five). SAC {¥ 97-137. Plaintiff seeks: damages,

 

1 Parts per trillion (“ppt”).

2 On September 15, 2022, the parties note in a status letter to the Court that EPA drastically lowered its advisories for
PFOA to .004 ppt and PFOS to .002 ppt in June 2022. See D.E. 209. The Court takes note of the updated advisories
here, but because EPA did not release them until after the instant motion was fully-briefed, the Court does not take
them into consideration in its decision here.

3 Whereas, EPA’s advisories are recommendations, NJDEP’s MCLs are enforceable. D.E. 157-1 “MWC PFAS
Treatment Report” at 0-1.
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including but not limited to investigation, clean-up, abatement, remediation, engineering,
treatment and monitoring costs incurred by Plaintiff to comply with federal and state regulatory
advisories and standards, attorneys’ fees, punitive damages, and any other appropriate equitable
relief. Id. at 20-21.

Defendant moves for summary judgment as to all five claims in Plaintiff's SAC, D.E. 140.
That motion is now fully-briefed and ripe for the Court’s decision.

Il. STANDARD OF REVIEW

Summary judgment is only proper “if the pleadings, depositions, answers to
interrogatories, and admissions on file, together with the affidavits, if any, show that there is no
genuine issue as to any material fact and that the moving party is entitled to a judgment as a matter
of law.” Fed. R. Civ. P. 56(c); see also Anderson v. Consol. Rail Corp., 297 F.3d 242, 247 3d
Cir. 2002). A fact is material if it “might affect the outcome of the suit under the governing law”
and a dispute about a material fact is genuine if “the evidence is such that a reasonable jury could
return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248
(1986). Disputes over irrelevant or unnecessary facts will not preclude a court from granting a
motion for summary judgment. See id.

The party moving for summary judgment has the initial burden of showing the basis for its
motion and must demonstrate that there is an absence of a genuine issue of material fact. See
Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986); Conoshenti v. Pub. Serv. Elec. & Gas Co., 364
F.3d 136, 145-46 (3d Cir. 2004). The moving party must support its motion by citing to specific
materials in the record. Fed. R. Civ. P. 56(c)(1)(A). Once the moving party has adequately
supported its motion, the burden shifts to the nonmoving party to “go beyond the pleadings and by

her own affidavits, or by the depositions, answers to interrogatories, and admissions on file,
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designate specific facts showing that there is a genuine issue for trial.” Celotex Corp., 477 U.S. at
324 (internal citation and quotation marks omitted). The nonmoving party must identify specific
facts and affirmative evidence that contradict the moving party. Anderson, 477 U.S. at 250. The
nonmoving party “cannot create an issue of fact merely by [] denying averments [] without
producing any support evidence of the denials.” Thimons v. PNC Bank, NA, 254 F. App’x 896,
899 (3d Cir. 2007) (citation omitted). Where the nonmoving party’s “evidence is merely
‘colorable’ or is ‘not significantly probative,’ the court may grant summary judgment.” Messa v.
Omaha Prop. & Cas. Ins. Co., 122 F. Supp. 2d 523, 528 (D.N.J. 2000) (quoting Anderson, 477
U.S. at 249-50). But “[i]f reasonable minds could differ as to the import of the evidence,” then
summary judgment is inappropriate. Anderson, 477 U.S. at 250-51.

In reviewing a motion for summary judgment, the Court “may not make credibility
determinations or engage in any weighing of the evidence; instead, the nonmoving party’s

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evidence ‘is to be believed and all justifiable inferences are to be drawn in his favor.’” Marina v.
Indus. Crating Co., 358 F.3d 241, 247 (3d Cir. 2004) (quoting Anderson, 477 U.S. at 255). But if
the nonmoving party “fails to make a showing sufficient to establish the existence of an element
essential to that party’s case[,]” then there is “no genuine issue as to any material fact[,]” and
summary judgment is appropriate. Celotex Corp., 477 U.S. at 322. However, “[i]f reasonable
minds could differ as to the import of the evidence,” summary judgment is inappropriate. See
Anderson, 477 U.S. at 250-51.

III. DISCUSSION
A. Defendant is Not Entitled to Summary Judgment on Count One

First, the Court must address whether Defendant is entitled to summary judgment with

respect to Plaintiff's negligence claim. To prevail on a negligence claim, a plaintiff must establish
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four elements: (1) the defendant owed a duty of care to the plaintiff; (2) the defendant breached
that duty; (3) proximate cause; and (4) actual damages to the plaintiff. See, e.g., Stanley Co. of
Am. v. Hercules Powder Co., 16 N.J. 295, 108 A.2d 616 (N.J. 1954); see also Prosser and Keeton
on the Law of Torts, § 30, at 164-65 (Sth ed. 1984). With respect to Plaintiffs negligence claim,
Defendant argues that it is entitled to summary judgment because Plaintiff cannot establish that
Defendant proximately caused the contamination of the Park Avenue Wells. D.E. 141-1 “Mot.”
at 9.

Typically, whether proximate cause can be established is a genuine issue of material fact
best resolved by a jury. Scafidi v. Seiler, 119 N.J. 93, 574 A.2d 398, 402 (1990); see also Fleuhr
v. City of Cape May, 159 N.J. 532, 543, 732 A.2d 1035 (1999) (“Ordinarily, the issue of proximate
cause should be determined by the factfinder...however, [the issue] may be removed from the
factfinder in the highly extraordinary case in which reasonable minds could not differ on whether
that issue has been established.”). Resultingly, the Court proceeds with caution in resolving
Defendant’s instant motion.

“Proximate cause consists of ‘any cause which in the natural and continuous sequence,
unbroken by an efficient intervening cause, produces the result complained of and without which
the result would not have occurred.’” Conklin v. Hannoch Weisman, 145 N.J. 395, 418, 678 A.2d
1060 (1996). A plaintiff bears the burden of showing that “a defendant’s conduct constituted a
cause-in-fact of his injuries.” Vizzoni v. B.M.D., 459 N.J. Super. 554, 568, 212 A.3d 962 (App.
Div. 2019). But “an act or omission [by a defendant] is not regarded as a cause-in-fact of an event
if the event would have occurred without such act or omission.” Thorn v. Travel Care, Inc., 296
N.J. Super. 341, 346, 686 A.2d 1234 (App. Div. 1997) (citing Kulas v. Pub. Serv. Elec. & Gas Co.,

41 N.J. 311, 317, 196 A.2d 769 (1964)). Instead, only an act or omission which was “a substantial
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factor” in bringing about the complained of damages is considered a cause-in-fact, but it need not
be the only cause. Jd at 347 (citation omitted).

Finally, while a plaintiff bears the burden of establishing proximate cause, he is “not
obliged to establish it by direct, indisputable evidence[;]” instead, “[t]he matter may rest upon
legitimate inference, so long as the proof will justify a reasonable and logical inference as
distinguished from mere speculation.” Kulas, 41 N.J. at 319. In other words, a plaintiff satisfies
this burden by introducing evidence which affords a reasonable basis for the conclusion that it is
“more likely than not” that the defendant’s act or omission was a cause in fact of damages.
Townsend v. Pierre, 221 N.J. 36, 60-61, 110 A.3d 52 (2015) (citation omitted).

Here, Defendant proffers two alternative reasons in support of its argument that Plaintiff
cannot establish proximate cause: (1) Plaintiff cannot demonstrate that Defendant manufactured
the PFOA or PFOS that ended up in the Park Avenue Wells; and (2) even if Plaintiff could
demonstrate that Defendant manufactured the PFOA or PFOS in the Park Avenue Wells, Plaintiff
cannot establish the natural and continuous sequence between Defendant’s sale or distribution of
the PFOA or PFOS and the contamination of the Park Avenue Wells. Mot. at 10. For the reasons
that follow, Plaintiff raises a genuine dispute as to Defendant’s proximate cause arguments;
therefore, the Court concludes that Defendant is not entitled to summary judgment.

First, Defendant provides three reasons why Plaintiff's evidence is insufficient to
demonstrate that Defendant manufactured the PFOA or PFOS in the Park Avenue Wells: (1)
Defendant was not the only manufacturer who used electrochemical fluorination (“ECF”) to
manufacture PFOA and PFOS; (2) chromatograms cannot differentiate between ECF products by
manufacturer; and (3) Plaintiff improperly relies on Defendant’s substantial share of the PFOA

and PFOS market. See Mot. at 12. Plaintiff, in response, proffers several allegations that
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collectively support its argument that it is more likely than not that Defendant manufactured the
PFOA and PFOS in the Park Avenue Wells, including: (1) Defendant was the primary global
manufacturer of both PFOA and PFOS until the early 2000s, D.E. 152-6
“Tr. Mader” at 51:15-53:7, 85:10-14; (2) Defendant’s long-time toxicologist, Dr. John Butenhoff,
testified that based on what he knows about the manufacturing and persistence of PFOS that it’s a
matter of mathematical probability that a PFOS particle found in the United States that Defendant
is more likely than not to be the source, D.E. 152-11 “Tr. Dr. Butenhoff” at 520:24-521:24; (3)
Defendant is the only entity known to have distributed PFOA or PFOS-containing products to
businesses in and around the Park Avenue Wells,* PFOA’s isomer profile is consistent with
Defendant’s patented ECF technology, and the PFOA and PFOS in the Park Avenue Wells are
highly correlated with other PFAS present in Defendants’ products, D.E. 152-12 “Tr. Dr. Higgins”
at 18-19, Tr. Mader at 255:3-8, 259:5-8, 263:20-264:1;° and (4) Defendant is reportedly
responsible for 85 percent of global PFOA manufacturing and is the only known manufacturer of
PFOS in the United States, see D.E. 152-15 “2015 DART Letter & Rec.” at 1.

Viewing the evidence in the light most favorable to the nonmoving party, the Court finds
that there is a genuine dispute as to whether the PFOA and PFOS in the Park Avenue Wells were
manufactured and distributed by Defendant. The Court believes a factfinder may reasonably infer
that Plaintiff can establish proximate cause based on a handful of facts in the record. First,
Defendant’s Rule 30(b)(6) witness, Brian Mader, Ph.D., confirmed that with Defendant selling

POSF-based® products to key customers in New Jersey that it was at least possible, if not

 

4 Mr. Mader confirmed that 3M had 13 key customers that received products containing PSOF in New Jersey. Tr. Mr.
Mader at 259:2-8.

> In a separate motion, Defendant moves to preclude the expert testimony of Dr. Christopher Higgins.

6 Perfluorooctanesulfonyl flouoride (“POSF”) is used to make PFOS and PFOS-based chemicals. POSF ultimately
degrades into PFOS.
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foreseeable, that PFOS originating from Defendant’s products would be released into waterways
in New Jersey. See Tr. Mader at 259:2-8, 263:20-264:16.

Second, in a 2015 letter to the California Office of Environmental Health Hazard
Assessment, Defendant acknowledged that until its phaseout (in the early 2000s) it was “the only
known manufacturer of PFOS and PFOS precursors in the United States.” 2015 DART Letter &
Rec. at 2. That statistic coupled with the fact that “[m]anufacturing and importation of PFOS into
the United States ceased in 2002 (except for a small number of critical applications with limited
exposure potential)” and the fact that PFOS is not easily removed from the environment could lead
a reasonable factfinder to conclude that the PFOS found in the Park Avenue Wells was
manufactured by Defendant. See 2015 DART Letter & Rec. at 5.

Third, that Defendant was not the “only” manufacturer who used ECF to manufacture
PFOA and PFOS is not fatal to Plaintiff's claims for two reasons: (1) the volumes of ECF-produced
PFOS by other manufacturers was minor; and (2) the volumes of ECF-produced PFOA by other
manufacturers has largely occurred outside of the United States and only after the significant new
use rule was implemented in the United States, which could lead to the reasonable inference that
it is more likely than not that ECF-produced PFOA found in the United States was manufactured
by Defendant. See, e.g., D.E. 157-26 at 128:2-24, 139:1-9. Thus, the Court finds that Defendant’s
assertions do not, as a matter of law, stand up against the facts in the record.’

Defendant also claims that even if Plaintiff could demonstrate that Defendant manufactured

the PFOA and PFOS in the Park Avenue Wells that Plaintiff cannot establish proximate cause

 

7 The Court notes that Defendant’s position that Plaintiff is asserting a market share theory of liability by proffering
evidence that Defendant is the primary manufacturer of PFOA and PFOS in the United States is misplaced. Plaintiff
does not assert a market share theory of liability; instead, Plaintiff merely provides evidence that Defendant holds
such a large portion of the market that it would be inappropriate for the Court to determine as a matter of law that
Defendant is not responsible for the contamination of the Park Avenue Wells. The Court is not excusing Plaintiff's
burden of establishing that Defendant proximately caused its damages, which is what the market share theory of
liability does because it creates a presumption in favor of Plaintiff.

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because it has not demonstrated that its harms were a natural and continuous consequence of
Defendant’s alleged tortious conduct. See Mot. at 18. Specifically, Defendant asserts that Plaintiff
has not identified a particular third-party user of Defendant’s products whose use or disposal of
those products in New Jersey caused the contamination of the Park Avenue Wells.® Mot. at 19-
20. Plaintiffrebuts, with a series of persuasive case law, that it need only establish that Defendant’s
conduct made it foreseeable that a third-party’s use and disposal of Defendant’s PFAS would
contaminate the water in the Park Avenue Wells. D.E. 152 “Opp’n” at 24-25 (citing Hardwick v.
3M Co., 2019 U.S. Dist. LEXIS 169322, at *46-47 (S.D. Ohio 2019); Weirton Area Water Bad. v.
3M Co., 2020 U.S. Dist. LEXIS 237871, at *15-16 (N.D. W. Va. 2020); Parris v. 3M Co., 2022
U.S. Dist. LEXIS 60043, at *73-74 (N.D. Georgia Mar. 30, 2022)).

The Court largely agrees with Plaintiff's position, but adds that not only must the
contaminated water in the Park Avenue Wells have been a foreseeable consequence of Defendant’s
conduct, but also that the causal connection between the two events was not broken by a
“superseding intervening cause.” See Davis v. Brooks, 280 N.J. Super. 406, 412-13, 655 A.2d 927
(App. Div. 1993) (collecting cases). A superseding intervening cause is one that “entirely
supersedes the operation of the first tortfeasor’s negligence that it alone caused the injury, without
the first tortfeasor’s negligence contributing thereto in any material way.” Jd But an intervening
cause is not superseding so long as it is “one which might, in the natural and ordinary course of
things, be anticipated as not entirely improbable.” Jd; see also Bandel v. Friedrich, 235 N.J.
Super. 384, 390, 562 A.2d 813 (Super. Ct. App. Div. 1989); McKenna v. City of Philadelphia, 649
F.3d 171, 178 (Gd Cir. 2011) (finding that a cause is superseding only if it is a “cause of

independent origin that was not foreseeable.”) (internal quotation marks omitted).

 

8 As Plaintiff mentions in its opposition, Defendant incorrectly likens Plaintiff's proximate cause burden to that of a
fraud claim, in which a plaintiff is required to demonstrate the who, what, when, where, and how of an event at issue.

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Here, in claiming that Plaintiff cannot establish proximate cause, because it has not
identified a third-party user of Defendant’s products whose use or disposal of those products in
New Jersey caused the Park Avenue Wells’ contamination, Defendant appears to indirectly claim
that Plaintiff's failure to identify a relevant third-party user of Defendant’s products is evidence of
a superseding intervening cause. Assuming, in arguendo, that Defendant’s PFOA and PFOS are
in fact those present in the Park Avenue Wells, the Court finds that Defendant has not adduced
any evidence, direct or indirect, of a break in the causal connection between its conduct and the
contamination.

Whether Plaintiff can establish proximate cause is a question the Court finds is appropriate
for the factfinder. Accordingly, the Court concludes that Defendant has not established, as a matter
of law, that Plaintiff cannot demonstrate proximate cause.

B. Defendant is Not Entitled to Summary Judgment on Counts Two and Three

Next, the Court must address whether Defendant is entitled to summary judgment with
respect to Plaintiff’s failure to warn claims. Plaintiff brings a failure to warn claim under both a
theory of negligence and a theory of strict liability. See SAC 9 108-125. The crux under both
theories of liability is that Defendant failed to warn Plaintiff and the public of the dangers of the
PFAS in its products.

Under New Jersey law, a manufacturer shall be liable for negligent failure to warn “if the
claimant proves by a preponderance of the evidence that the product causing the harm was not
reasonably fit, suitable or safe for its intended purpose because it [] failed to contain adequate
warnings or instructions[.|” N.J.S.A. § 2A:58C(2). A plaintiff must establish: (1) the defendant
had a duty to warn; (2) the defendant breached that duty; and (3) the defendant’s breach caused

the plaintiff's damages. See James v. Bessemer Processing Co., 155 N.J. 279, 714 A.2d 898 (1998)

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(citation omitted). A manufacturer’s duty to warn is premised on the notion that a product is
defective absent an adequate warning for foreseeable users that the product can potentially cause
injury. Clark v. Safety-Kleen Corp., 179 N.J. 318, 336, 845 A.2d 587 (2004) (quotation marks
omitted). That duty is limited to risks that the manufacturer knows or ought to know, unless the
risk and the way to avoid it are obvious. Feldman v. Lederle Labs., 97 N.J. 429, 434, 479 A.2d
374 (1984). A manufacturer’s failure to provide adequate warnings constitutes a breach of duty.
Clark, 179 N.J. at 336 (citation omitted). With respect to causation, a plaintiff must demonstrate
that the defect in the product was a proximate cause of the alleged damages. Typically, a “jury
[not the Court] considers issues of proximate cause.” See Shelcusky v. Garjulio, 172 N.J. 185,
206, 797 A.2d 138 (2002).

Under New Jersey law, a manufacturer shall be strictly liable for damages resulting from
the use of its products, where the manufacturer fails to produce and distribute a product that is fit,
suitable, and safe for its foreseeable purposes. Feldman v. Lederle Labs., 125 N.J. 117, 144 (1991)
(citation omitted). A product may be unsafe, and therefore defective, because of a failure to warn
or due to an inadequate warning. Freund v. Cellofilm Properties, Inc., 87 N.J. 229, 242, 432 A.2d
925 (1981). If a manufacturer subsequently learns of a danger relevant to its products, it is
obligated to communicate a warning “as soon as reasonably feasible.” Feldman, 125 N.J. at 144
(citation omitted). “When liability is premised on the failure to warn or an inadequate warning,
the issue becomes whether the manufacturer knew or could have known of the danger and, if so,
whether it acted in a reasonably prudent manner [] in providing the warnings given.” Jd. (citation
and quotation marks omitted). As a result, negligent and strict liability failure to warn claims are
treated as functional equivalents. Jd. at 144 (citation omitted). Thus, the Court will proceed with

one analysis here.

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With respect to the failure to warn claims, Defendant asserts that it is entitled to judgment
as a matter of law because Plaintiff has not identified “what” product was dangerous and defective.
Mot. at 24. Plaintiff responds that there is “no requirement that a warning be placed on a specific
product to succeed” on a failure to warn claim—brought under either a theory of negligence or
strict liability. Opp’n at 30. The Court agrees with Plaintiff.

Specifically, Defendant’s duty to warn foreseeable users is not limited to one product, but
rather, it reasonably extends to any products containing PFAS that Defendant places into the
market, and which Defendant knows or has reason to know contain PFAS. In fact, in NJ. Dep’t
of Envil. Prot. v. EI. du Pont de Nemours & Co., 2021 U.S. Dist. LEXIS 247973, at *14, 26-27
(D.N.J. Dec. 30, 2021), in a similar case brought by NJDEP against 3M, and others, the district
court explicitly found that 3M owed a duty to warn NJDEP that “3M’s PFAS-containing products
could endanger New Jersey’s citizens and environment.” There, the district court emphasized that
imposing a duty to warn on 3M—who was the party with the relevant knowledge to protect New
Jersey’s citizens and resources—was consistent with the foreseeability of the harm caused by
PFAS and fairness. Id. at *25-26. The district court focused on the “dangerous propensities” of
3M’s products. See id. (citing Maryland v. Exxon Mobil Corp., 406 F. Supp. 3d 420 (D. Md.
2019), a case in which the district court found that the defendant owed a duty to warn the state
about the dangers of methy] tertiary butyl ether (“‘CMTBE”), which could foreseeably end up in the
environment through, inter alia, disposals, spills, and evaporative releases) (citation omitted).
Notably, the district court did not find fatal the fact that NJDEP did not identify a particular product
manufactured by 3M. Likewise, the fact that Plaintiff does not identify a particular product

manufactured by Defendant is not fatal to its failure to warn claims at this juncture.

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Defendant also haphazardly asserts that Plaintiff cannot establish causation. See Mot. at
24-25. As previously mentioned in this Opinion, proximate cause is typically a factual issue best
resolved by a factfinder, unless reasonable minds could not differ on whether the issue has been
established. Based on Defendant’s cursory address of whether Plaintiff can establish proximate
cause, it would be inappropriate for the Court to find that Defendant is entitled to judgment as a
matter of law on this issue. See Michalko v. Cooke Color & Chemical Corp., 91 N.J. 386, 402-03,
451 A.2d 179 (1982) (finding that the question of “whether the failure to warn proximately caused
a plaintiffs injury is a factual dispute that the jury should decide.”).

Accordingly, because Defendant has not established as a matter of law that Plaintiff cannot
establish the essential elements of its negligent and strict liability failure to warn claims, the Court
will deny summary judgment on these claims.

C. Defendant is Not Entitled to Summary Judgment on the Scope of Plaintiff's Damages

Finally, the Court must address Defendant’s assertion that, if Plaintiff is able to establish
liability, Plaintiff's damages should be limited to the reasonable costs of treating the water in the
Park Avenue Wells to comply with New Jersey MCLs. Mot. at 32. With respect to Plaintiff's
surviving claims,’ Plaintiff claims that it has suffered and continues to suffer property damage
requiring investigation, remediation, treatment, and monitoring costs as a result of Defendant’s
alleged contamination of the Park Avenue Wells. See SAC f¥ 107, 118, 125. Defendant urges the
Court to hold that Plaintiff may not recover damages for the cost of any system other than a
granular activated carbon (“GAC”) system,!° because any additional damages would be

inequitable and speculative. Jd. at 32-33. Plaintiff responds that its protectable interest is not

 

° Negligence, negligent failure to warn, and strict liability failure to warn.
10 GAC is the most common treatment method in both drinking water and groundwater remediation of PFAS
contamination, but it does have limitations. MWC PFAS Treatment Report at 5-1.

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limited to bringing the contamination of its Park Avenue Wells in compliance with regulatory
standards (e.g., New Jersey MCLs). See Opp’n at 27-30. The Court concludes that a genuine
dispute exists as to the scope of Plaintiffs damages.

Plaintiff offers persuasive support for its proposition that its damages should not be limited
to the cost of the GAC system, which would reduce the concentration of PFOA and PFOS levels
permissible by New Jersey MCLs, because “MCLs are not determinative of what constitutes a safe
level of any chemical.” See Opp’n at 27. Plaintiff cites to several non-binding cases in which
courts have found that MCLs do not define the scope of a plaintiff's protected interests or injury.
See Opp’n at 27-28 (citing United Water N.Y. v. Amerada Hess Corp. (Inre MTBE Litig.), 458 F.
Supp. 2d 149, 155, 157-59 (S.D.N.Y. 2006); Suffolk Cty. Water Auth. v. Dow Chem. Co., 35 Misc.
3d 307, 313-14 (N.Y. Sup. Ct. Suffolk Cty. 2012); Lueke v. Union Oil Co. of Calif., 2000 Ohio
App. LEXIS 4845, at *12 (Ohio Ct. App. 2000)). Plaintiff provides that MCLs are merely
regulatory standards set by governmental agencies and they vary from state to state; therefore, they
cannot be conclusive as to the degree of a party’s injury. See Opp’n at 28. Additionally, Plaintiff
cites to NJDEP’s “PFAS Standards and Regulations,” which state that “[a]n MCL is the highest
allowable concentration of a contaminant in water delivered to a user of a public drinking water
supply.” D.E. 152-25 “NJDEP PFAS Standards” at 1.

Taking the evidence Plaintiff provides cumulatively, the Court believes that a factfinder
could make more than one reasonable inference with respect to the impact of the New Jersey MCLs
for PFOA and PFOS on Plaintiff's damages. First, a reasonable inference could be drawn that
New Jersey MCLs set the ceiling for Plaintiff's damages; this would be the case if a factfinder
concludes that Plaintiff's damages are limited to bringing its Park Avenue Wells into compliance

with those standards. Or, alternatively, the New Jersey MCLS set the floor for Plaintiffs damages;

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this would be the case if a factfinder concludes that Plaintiff's damages encompass the removal of
all PFOA and PFOS from the Park Avenue Wells.

Notably, Defendant mentions that the remedy for environmental contamination is typically
a plaintiff's remediation costs. Mot. at 31 (citing N.J. Dep’t of Envtl. Prot., 323 F.R.D. at 223;
Grand St. Artists v. Gen. Elec. Co., 1997 WL 33475074, at *4 (D.N.J. Feb. 11, 1997)).
Determining the scope of Plaintiff's remediation costs is precisely the genuine dispute of fact that
remains.

Accordingly, with respect to the scope of Plaintiff's damages, Defendant is not entitled to
judgment as a matter of law.
D. Dismissal of Counts Four and Five

Plaintiff originally brought claims for private nuisance and past and continuing trespass
against Defendant. SAC §§ 126-137. Defendant asserts it is entitled to summary judgment on
these two claims and provides adequate support. See Mot. at 25-31. However, instead of
responding to Defendant’s arguments, Plaintiff voluntarily withdraws these claims in its
opposition. Opp’n at 2 n.1. When confronted with a properly supported motion for summary
judgment, Plaintiff cannot simply respond by withdrawing claims in an attempt to preserve the
merits of those claims for another day or another form. New W. Urban Renewal Co. v. Viacom,
Inc., 230 F. Supp. 2d 568, 576 (D.N.J. 2002); Amland Properties Corp. v. Aluminum Co. of Am.,
808 F. Supp. 1187, 1196 (D.N.J. 1992). “It is a well-settled rule that a party opposing a summary
judgment motion must inform the trial judge of the reasons, legal or factual, why summary
judgment should not be entered. If it does not do so, and loses the motion, it cannot raise such
reasons on appeal.” Fischer v. G4S Secure Solutions USA, Inc., 614 F. App’x 87, 91 n.3 (Gd Cir.

2015); see also McKenna v. Portman, 538 F. App’x 221, 224 n.5 (3d Cir. 2013) (“Although their

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Amended Complaint seeks relief under the First, Fourth, Fifth, Sixth, and Fourteenth
Amendments, in their briefs both before this Court and the District Court, Plaintiffs only oppose
the dismissal of their Fifth and Fourteenth Amendment claims and essentially concede all
remaining claims.”). Pursuant to Fed. R. Civ. P. 56(e), the Court may consider facts asserted as
undisputed and grant summary judgment.

On June 2, 2022, this Court (Neals, J.) dismissed these two claims with prejudice pursuant
to Fed. R. Civ. P. 41(a)(1). D.E. 176. Here, the Court concludes that while this dismissal is
appropriate that it is based on relevant case law and Fed. R. Civ. P. 56(e). The Court makes this
conclusion because Plaintiff has conceded the merits of these two claims by failing to dispute the
relevant arguments Defendant raises in favor of summary judgment.

IV. CONCLUSION

For the reasons stated herein, Defendant’s motion for summary judgment will be DENIED
with respect to Plaintiff's negligence (Count One), negligent failure to warn (Count Two), and
strict liability failure to warn (Count Three) claims, as well as with respect to Defendant’s claim

to limit the scope of Plaintiff's potential damages. An appropriate Order accompanies this

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Hon. Evelyn Padin, U.S.D.J.

Opinion.

Dated: October 31, 2022

 

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